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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES,

       Plaintiff,
                                                       Case No.      11-20129
v.

SALVATORE BATTALGLIA (D-33),

       Defendant.
                                           /

                       ORDER STRIKING “OMNIBUS MOTION”

       On August 24, 2013, Defendant Salvatore Battalgia, through counsel, filed an

“Omnibus Motion,” which he docketed as only a “Motion to Dismiss and Alternative

Relief” but which actually contains far more: the motion purports to seek (1) pretrial

release, (2) severance of trial, (3) dismissal of charges for violation of the Speedy Trial

Act and for purported due process violations and (4) relief for alleged discovery

violations. The court will not ordinarily entertain self-entitled “omnibus” motions, as they

tend to cloud the docket.1

       If Defendant intends to pursue any of these issues, he will need to bring a

separate motion—and brief, see supra—for each request for relief. Defendant’s

       1
         The court finds no reference in the Rules of Criminal Procedure to “omnibus
motions” but some rare, scattered mention of the phrase in 6th Circuit case law. The
court did locate in the “Notes of Advisory Committee on Rules—1974 Amendment,” a
brief description of an “omnibus hearing” procedure that had been “originated by Judge
James Carter in the Southern District of California” (citing 4 Defender Newsletter 44
(1967); Miller, The Omnibus Hearing—An Experiment in Federal Criminal Discovery, 5
San Diego L.Rev. 293 (1968)). It seems to the court that collecting numerous criminal
motions inside a late-1960s “omnibus” wrapper may function in this era more as a
mechanism that avoids cogent briefing and confuses the docket rather than expedites
case determination. In any event it is contrary to the Local Rules as described below.
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“omnibus” motion fails to comply in a number of ways with the local rules or the orders

issued in this case, e.g., requiring counsel to seek concurrence pursuant to LR 7.1(a),

and to provide hearing statements in motions (See Dkt. ## 518 & 613.) In addition,

there is no brief in support of the “omnibus motion” or its sub-motion components, in

violation of LR 7.1(d)(1) (“[A] motion must be accompanied by a single brief . . . .”).

          The court will therefore strike the “omnibus” document. Defendant may file

appropriate, separate motions seeking whatever relief he may aver he requires, but

must comply with the Local Rules, and the standing orders governing motions already

entered by the court in this case. Accordingly,

          IT IS ORDERED that the “Omnibus Motion,” docketed as a “Motion to Dismiss

and Alternative Relief” [Dkt. # 649] is STRICKEN from the docket of this court.


                                                               s/Robert H. Cleland
                                                              ROBERT H. CLELAND
                                                              UNITED STATES DISTRICT JUDGE

Dated: August 28, 2013


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, August 28, 2013, by electronic and/or ordinary mail.

                                                               s/Lisa Wagner
                                                              Case Manager and Deputy Clerk
                                                              (313) 234-5522




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